Entered: January 23rd, 2017
                               Case 17-10111        Doc 18    Filed 01/23/17    Page 1 of 1
Signed: January 19th, 2017

SO ORDERED
Debtor shall show cause as set forth below or file the missing documents by
February 2, 2017.




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Greenbelt
                                       In re:   Case No.: 17−10111 − WIL    Chapter: 7

      Natieya Davis
      Debtor(s)

                                        ORDER TO SHOW CAUSE
                                  WHY CASE SHOULD NOT BE DISMISSED
                              FOR FAILURE TO COMPLETE REQUIRED FILINGS

By notice of the Court dated January 5, 2017, the above−captioned Debtor(s) was/were admonished to file:

      Declaration Concerning Debtor(s) Schedules
      Statement of Current Monthly Income and Means Test Calculation
      Statement of Financial Affairs
      Other:

within fourteen (14) days. Debtor(s) has/have failed to comply with said Order. It is, therefore, by the United States
Bankruptcy Court for the District of Maryland,

ORDERED, that the Debtor(s) show cause, if any there be, by the date designated above, in a writing filed with
Clerk, U.S. Bankruptcy Court Greenbelt Division, 6500 Cherrywood Lane, Ste. 300, Greenbelt, Maryland 20770 why
this case should not be dismissed, pursuant to 11 U.S.C. § 707(a), and all debts scheduled by Debtor(s) barred from
discharge for failure to complete required filings. Completion of the required filings by the same date shall dissolve
this Order to Show Cause. Failure to complete the required filings within the time allowed, or failure to show cause
which the Court considers adequate, may result in a dismissal of this case and/or denial of discharge of the debts
scheduled by Debtor(s) without further notice.

cc:     Debtor(s)
        Attorney(s) for Debtor(s) − PRO SE
        Case Trustee − Roger Schlossberg
        U.S. Trustee

                                                       End of Order
39x01 (rev. 12/01/2015) − jwhitfield
